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                                                                          6                      IN THE UNITED STATES DISTRICT COURT
                                                                          7                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                  )   Case No. CV 07-5944 SC
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                                                                              IN RE: CATHODE RAY TUBE (CRT)       )   ORDER RE: DIRECT ACTION
                                                                         10   ANTITRUST LITIGATION                )   PLAINTIFFS' LETTER ON
                               For the Northern District of California
United States District Court




                                                                                                                  )   SUPPLEMENTAL BRIEFING
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                                                                         15           The Court has read the Direct Action Plaintiffs' ("DAPs")
                                                                         16   letter of March 11, 2014, in which they note the possible
                                                                         17   availability of alternate grounds for tolling in their actions
                                                                         18   against the Thomson Defendants and Mitsubishi, based on tolling
                                                                         19   agreements between those defendants and the putative Direct
                                                                         20   Purchaser Plaintiff class.      The DAPs request supplemental briefing
                                                                         21   on the matter.    Since the Court has found other grounds for tolling
                                                                         22   in those cases and has also addressed the relations of those
                                                                         23   defendants to the DPP actions, the Court finds the DAPs' request
                                                                         24   moot.    If the issue arises again in the future, the parties may
                                                                         25   fully brief it at that time.
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                                                                         27           Dated: March 13, 2014
                                                                         28                                       UNITED STATES DISTRICT JUDGE
